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                                      UNITED STATES COURT OF APPEALS                         FILED
                                             FOR THE NINTH CIRCUIT                            JUL 18 2024
                                                                                          MOLLY C. DWYER, CLERK
                                                                                           U.S. COURT OF APPEALS
              CENTER FOR INVESTIGATIVE                            No. 24-880
              REPORTING and WILL EVANS,
                                                                  D.C. No.
                                                                  3:22-cv-07182-WHA
                              Plaintiffs - Appellees,             Northern District of California,
                                                                  San Francisco
                v.
                                                                  ORDER
              UNITED STATES DEPARTMENT OF
              LABOR,

                              Defendant - Appellant.

                        The amicus brief submitted by American Civil Liberties Union of Northern

              California, American Civil Liberties Union of Southern California, and American

              Civil Liberties Union of San Diego and Imperial Counties is filed.

                        Within 7 days of this order, amici must file 6 copies of the brief in paper

              format bound with green front cover pages. Each copy must include certification at

              the end that the copy is identical to the electronic version. The Form 18 certificate

              is available on the Court's website, at http://www.ca9.uscourts.gov/forms.

                        The paper copies must be sent to the Clerk’s principal office. The delivery

              and overnight mailing address is 95 Seventh Street, San Francisco, CA 94103. The

              regular U.S. mailing address is P.O. Box 193939, San Francisco, CA 94119-3939.

                                                                   FOR THE COURT:

                                                                   MOLLY C. DWYER
                                                                   CLERK OF COURT
